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12    Inc., d/b/a T3Leads, Grigor Demirchyan, and
      Marina Demirchyan
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14
15                            UNITED STATES DISTRICT COURT
16                          CENTRAL DISTRICT OF CALIFORNIA
17                                    WESTERN DIVISION
18
19    Consumer Financial Protection         Case No. 2:15-cv-09692 PSG(Ex)
      Bureau,
20                                          (consolidated for pretrial purposed with Case
                        Plaintiffs,         Nos. 2:16-cv-2724-PSG(Ex); 2:16-cv-2725-
21                                          PSG(Ex))
            v.
22                                          [Hon. Philip S. Gutierrez, Dept. 6A]
      D and D Marketing Inc., d/b/a
23    T3Leads, Grigor Demirchyan, and       NOTICE OF ASSOCIATION OF
      Marina Demirchyan,                    COUNSEL
24
                        Defendants.
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      NOTICE OF ASSOCIATION OF COUNSEL                            Case No. 2:15-cv-09692 PSG(Ex)
     Case 2:15-cv-09692-PSG-E Document 155 Filed 09/19/17 Page 2 of 3 Page ID #:991



 1
      TO THE CLERK OF THE ABOVE-ENTITLED COURT, ALL PARTIES, AND
 2
      THEIR ATTORNEYS OF RECORD:
 3
            PLEASE TAKE NOTICE that Akin Gump Strauss Hauer & Feld LLP hereby
 4
      associates as counsel Donald J. Putterman and Constance J. Yu of Putterman Landry +
 5
      Yu LLP on behalf of Defendants D and D Marketing Inc., d/b/a T3Leads, Grigor
 6
      Demirchyan, and Marina Demirchyan (collectively, “Defendants”) in this matter. All
 7
      pleadings and other papers served on Defendants should also be directed to Mr.
 8
      Putterman and Ms. Yu at the following address:
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      NOTICE OF ASSOCIATION OF COUNSEL                              Case No. 2:15-cv-09692 PSG(Ex)
     Case 2:15-cv-09692-PSG-E Document 155 Filed 09/19/17 Page 3 of 3 Page ID #:992



 1    Dated: September 19, 2017            AKIN GUMP STRAUSS HAUER & FELD LLP
 2
 3                                         By       /s/ Ashley Vinson Crawford1
                                                    Ashley Vinson Crawford
 4                                                  Danielle C. Ginty
 5
                                           WILSON, ELSER, MOSKOWITZ, EDELMAN
 6                                         & DICKER LLP
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 8                                         By       /s/ Herbert P. Kunowski
 9                                                   Patrick M. Kelly
                                                     Herbert P. Kunowski
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11                                         Attorneys for Defendants D and D Marketing,
                                           Inc., d/b/a T3 Leads, Grigor Demirchyan, and
12                                         Marina Demirchyan
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              By filing this document, I attest that I have received consent from all other
28    signatories to file this document with their electronic signature.
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      NOTICE OF ASSOCIATION OF COUNSEL                                 Case No. 2:15-cv-09692 PSG(Ex)
